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IN THE UNITED STATES DISTRICT COURT #!!
FOR THE NORTHERN DISTRICT OF OHIO

 

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
| Plaintiff, i 8 1 9 4349 CR 10 9"A
v. | | | 5 CASE NO. :
).  _. Title 18, United States C
RUSSELL DELANO MILEY-CRUZ, )@ Sections 873(¢) and 151240568)
Defendant. - JUDGE PEARSON |
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(Transmission of a Threat in Interstate Commerée, 18 th

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The Grand Jury charges:

1, On or about April 11, 2018, in the Northern District of Ohio, Eastern Division and
elsewhere, Defendant RUSSELL DELANO MILBY-CRUZ did knowingly and willfully transmit
in interstate and foreign commerce from the State of Pennsylvania to the State of Ohio, an
electronic communication via Snapchat to T.G, an individual not charged herein, and the
communication contained a threat to injure students at Parma High School, specifically, “Don’t
go to Parma High School tomorrow friend, we are about to shoot that s_- t up alright man?
Don’t tell the cops and you will be fine.”, in violation of Title 18, United States Code, Section
875(c). |

COUNT 2
(Obstruction of Justice, 18 U.S.C. § 1512(b)3))

The Grand Jury further charges:

2. From on or about April 11, 2018 to on or about May 1, 2018, in the Northern

District of Ohio, Eastern Division and elsewhere, Defendant RUSSELL DELANO MILEY-
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CRUZ did knowingly and willfully engage in misleading conduct by providing a false phone
number to law enforcement, denying the use of the snapchat username “diravetastic,” denying
knowledge of anyone in Parma, Ohio, denying use of a “GMX” email account, denying
knowledge of phone numbers from area code 212 ending in 2668 and 0347, denying knowledge
of a phone number beginning with area code 931 ending in 2668, with the intent to hinder, delay,
and prevent the communication to Parma Police Department Detectives, Federal Bureau of
Investigation Special Agents, and Scranton Police Department Detectives, of information
relating to the possible continission of a Federal offense, namely Transmission of a Threat in
Interstate Commerce, in violation of Title 18, United States Code, Section 875(c), as charged in
Count 1.

All in violation of Title 18, United States Code, Section 1512(b)(3).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
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United States v. Russell Delano Miley-Cruz

A TRUE BILL.

 

JUSTIN E. HERDMAN
United States Attorney —

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Robert E. Bulford, Chis
Criminal Division
